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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


 TYRONE JOHNSON

                Plaintiff,
                                                       Civil Action No. 1:24-cv-12766
 v.

 SUFFOLK UNIVERSITY

                Defendant.


                             JOINT DRAFT SCHEDULING ORDER

       This Draft Scheduling Order is filed by the parties in an effort for efficient management

of discovery and motion practice which facilitates effective, speedy, and fair disposition, whether

by settlement or trial. The Court may adopt this proposed schedule submitted jointly by the

parties in lieu of holding the hearing for the scheduling order.

       This Draft proposes a Timetable for Discovery and Motion Practice Pursuant to Rule

16(b) of the Federal Rules of Civil Procedure and Local Rule 16.1(f).

       The Proposed Schedule is as follows:

                         Timetable for Discovery and Motion Practice

       1.      Initial Disclosures. Initial disclosures required by Fed. R. Civ. P. 26(a)(1) must be

completed by January 31, 2025.

       2.      Amendments to Pleadings. Except for good cause shown, no motions seeking

leave to add new parties or to amend the pleadings to assert new claims or defenses may be filed

after February 28, 2025.

       3.      Fact Discovery – Interim Deadlines.
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               a. Written discovery (requests for production of documents, interrogatories and

                  request for admissions) shall be served no later than June 30, 2025.

               b. All depositions, other than expert depositions, must be completed by August

                  29, 2025.

       4.      Fact Discovery – Final Deadline. All discovery, other than expert discovery,

must be completed by August 29, 2025.

       5.      Status Conference. NOTE: The Court will schedule a status conference shortly

after the close of fact discovery to discuss case management issues such as the need for expert

discovery and dispositive motions.

       6.      Expert Discovery.

               a. Plaintiff(s)’ trial experts must be designated, and the information

                  contemplated by Fed. R. Civ. P. 26(a)(2) must be disclosed, by September 30,

                  2025.

               b. Plaintiff(s)’ trial experts must be deposed by November 28, 2025.

               c. Defendant(s) trial experts must be designated, and the information

                  contemplated by Fed. R. Civ. P. 26(a)(2) must be disclosed, by October 31,

                  2025.

               d. Defendant(s)’ trial experts must be deposed by November 28, 2025.

       7.      Dispositive Motions.

               a. Dispositive motions, such as motions for summary judgment or partial

                  summary judgment and motions for judgment on the pleadings, must be filed

                  by December 31, 2025.
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               b. Oppositions to dispositive motions must be filed within 21 days after service

                      of the motion.

               c. Reply memoranda are permitted, provided that such reply memorandum does

                      not exceed ten pages, is double-spaced, and is filed within 14 days after

                      service of the opposition papers.

               d. Sur-Reply memoranda are not permitted.

       8.      Trial by Magistrate Judge. The parties do not consent to trial by magistrate

judge at this time.

                                 Additional Procedural Instructions

       A.      In-Person or Remote Hearings. The Parties Jointly Request that the Court

schedule Status Conferences and the Scheduling Conference remotely via Zoom. All other court

conferences and hearings will be held in person in Courtroom X, unless the parties jointly

request a remote hearing to be conducted over Zoom for scheduling and status conferences.

Parties will be notified if an in-person hearing is necessary on motions.

       B.      Extension of Deadlines. Motions to extend or modify deadlines will be granted

only for good cause shown. All motions to extend shall contain a brief statement of the reasons

for the request; a summary of the discovery completed as well as the discovery, if any, that

remains to be conducted; and a specific date or dates by which the requesting party expects to

complete the additional discovery, join other parties, amend the pleadings, or file a motion

(including updated deadlines for filing of opposition and reply).

       C.      Motions to Compel or Prevent Discovery. Except for good cause shown,

motions to compel discovery, motions for protective orders, motions to quash, motions to strike

discovery responses, and similar motions must be filed no later than seven days after the close of

fact discovery or the close of expert discovery, whichever deadline is relevant. If additional
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discovery is compelled by the Court after the relevant deadline has passed, the discovery

deadline shall be extended solely for the requested discovery. The parties may privately agree to

continue discovery beyond the court-ordered deadline, but the Court will not entertain any

motions related to disputes arising from discovery conducted beyond the court-ordered deadline.

       D.      Status Conferences. The Court will schedule a status conference at or near the

close of fact discovery for case management purposes. Any party who reasonably believes that

an earlier status conference will assist in the management or resolution of the case may request

one from the Court, upon reasonable notice to opposing counsel.

       E.      Early Resolutions of Issues. The Court recognizes that, in some cases, resolution

of one or more preliminary issues may remove a significant impediment to settlement or

otherwise expedite resolution of the case. Counsel are encouraged to identify any such issues and

to make appropriate motions at the earliest stage possible, in the litigation.

       F.      Final Pretrial Conference. Trial counsel are required to attend any pretrial

conference. The parties shall prepare and submit a joint pretrial memorandum in accordance with

Local Rule 16.5(d) seven business days prior to the date of the conference, except that the parties

need not include matters required by Local Rule 16.5(d)(2) or (3). Addresses and telephone

numbers of witnesses should not be listed in the pretrial memorandum, as stated by Local Rule

16.5(d)(10).



/s/ Arielle Kristan                                           /s/ James J. Heggie

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                          CERTIFICATE OF SERVICE

I hereby certify that this document filed through the CM/ECF system will be sent electronically

to the registered participants as identified on the NEF (NEF) and paper copies will be sent to

those indicated as non registered participants on January 11, 2025.


Respectfully submitted,

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January 10, 2025
